819 F.2d 1138Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Willie H. MITCHELL, Plaintiff-Appellant,v.STATE OF NORTH CAROLINA, Child Support Enforcement Section,Defendant-Appellee.
    No. 87-6545.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 17, 1987.Decided May 27, 1987.
    
      Before SPROUSE and ERVIN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      Willie H. Mitchell, appellant pro se.
      Lemuel Wayne Hinton, Office of the Attorney General, for appellee.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Mitchell v. State of North Carolina, C/A No. 86-636-CRT (E.D.N.C., Jan. 22, 1987).
    
    
      2
      AFFIRMED.
    
    